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 5    Attorneys for the United States
 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                         Case No. 2:14-CR-00325-JAM

12                       Plaintiff,                     GOVERNMENT’S MOTION and ORDER
                                                        DISMISSING INDICTMENT AS TO
13           v.                                         DEFENDANT TERI SCHELL

14    TERI SCHELL,

15                       Defendant.

16
            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the government hereby
17
     moves to dismiss the charges in the Indictment as to defendant Teri Schell in the present case.
18
     These charges constitutes all the charges as to this defendant and will terminate her involvement
19

20   in the case. This motion is supported and explained by the attached Dismissal Agreement.

21

22
     Dated: February 8, 2019                                McGREGOR W. SCOTT
23                                                          United States Attorney
                                                  By:         /s/ Richard J. Bender
24                                                          RICHARD J. BENDER
                                                            Assistant U.S. Attorney
25

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                            MOTION TO DISMISS INDICTMENT AS TO DEFENDANT TERI SCHELL
       Case 2:14-cr-00325-JAM Document 111 Filed 02/14/19 Page 2 of 2


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 8                                    UNITED STATES DISTRICT COURT

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11    UNITED STATES OF AMERICA,                        Case No. 2:14-CR-00325-JAM

12                       Plaintiff,                    ORDER DISMISSING INDICTMENT AS
                                                       TO DEFENDANT TERI SCHELL
13           v.

14    TERI SCHELL,

15                       Defendant.

16

17                                               ORDER

18

19          Upon motion of the government, it is ORDERED that the charges in the Indictment as to
20   defendant are hereby dismissed.
21

22   February 13, 2019
23
                                                      /s/ John A. Mendez
24                                                   HON. JOHN A. MENDEZ.
                                                     United States District Court Judge
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                                                      2
                            ORDER DISMISSING INDICTMENT AS TO DEFENDANT TERI SCHELL
